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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


FROILAN GRUESO CARDENAS,

v.                                               Case No.      8:04-cr-141-T-24MAP
                                                               8:06-cv-589-T-24MAP


UNITED STATES OF AMERICA.


_________________________________/


                                         ORDER

       On March 29, 2006, Defendant Froilan Grueso Cardenas (Cardenas) signed a

motion to vacate, set aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C.

§ 2255. (Doc. cv-1; cr-123).

                                     BACKGROUND

       On June 9, 2004, Cardenas pled guilty to count one of the Indictment. Count one

charged Cardenas with possession with intent to distribute 5 kilograms or more of cocaine

while on board a vessel subject to jurisdiction of the United States, "in violation of 46

Appendix, U.S.C. §§ 1903(a) and 1903(g), 18 U.S.C. § 2, and 21 U.S.C. § 960(b)(1)(B)(ii)."

(Doc. cr-1 [Indictment]; cr-68 [Judgment]).

       On September 9, 2004, the Court sentenced Cardenas to 240 months incarceration

as to count one. Count two was dismissed on the oral motion of the Government. The

undersigned district court judge signed the judgment on that day. Cardenas did not appeal

the conviction or sentence.
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                                       DISCUSSION

       Because review "of the motion and the file and records of the case conclusively

show that the defendant is entitled to no relief," the Court will not cause notice thereof to

be served upon the United States Attorney but shall proceed to address the matter. See

28 U.S.C. § 2255.

                             Motion To Vacate Is Time-Barred

       On April 24, 1996, a substantial amendment to 28 U.S.C. § 2255 became effective.

That amendment, § 105 of the Antiterrorism and Effective Death Penalty Act of 1995

("AEDPA"), Pub. L. No. 104-132, 110 Stat. 1214, established a one-year "period of

limitation" for the filing of a § 2255 motion, to run from the latest of: 1) the date on which

the judgment of conviction becomes final; 2) the date any unconstitutional government

impediment, if any, precluding the movant from making a motion is removed; 3) the date

on which the right asserted was initially recognized by the United States Supreme Court;

or 4) the date on which the facts supporting the claim could have been discovered through

the exercise of due diligence. 28 U.S.C. § 2255, as amended by Pub. L. No. 104-132, Title

1, § 105 (Apr. 24, 1996).

       For final judgments entered after the effective date of the AEDPA, or April 24, 1996,

as in this case, the statute of limitations begins to run on the date the district court's

judgment becomes final. Cardenas' conviction became final on September 19, 2004,

when the time for filing a direct appeal had passed; thus, he had until September 20, 2005,

to file a timely section 2255 motion. See Adams v. United States, 173 F.3d 1339, 1342

(11th Cir. 1999) (when defendant does not pursue direct appeal, conviction becomes final

when time for filing a direct appeal expires). Cardenas did not sign his motion to vacate

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until March 2006, and the motion to vacate is time-barred.

       Cardenas filed an exhibit in support of the motion to vacate. The author of the

exhibit, a Spanish-speaking federal inmate who alleges that he prepared the motion to

vacate for Cardenas after he [the inmate] waited nine months to receive information about

Cardenas' case, contends that Cardenas' intellectual capacities are limited because he had

only three years of schooling and that Cardenas always wanted to please. None of the

factors described in the exhibit demonstrate exceptional circumstances that warrant

equitable tolling.

       Accordingly, the court orders:

       That Cardenas' motion to vacate, set aside, or correct an allegedly illegal sentence

(Doc. cv-1; cr-123) is denied, with prejudice, as time-barred. The Clerk is directed to enter

judgment against Cardenas in the civil case and to close that case.

       ORDERED at Tampa, Florida, on April 17, 2006.




AUSA: Christopher P. Tuite

Pro se: Froilan Grueso Cardenas




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